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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.                                           CRIMINAL ACTION NO. 3:14-CR-21 (ALL)
                                               (JUDGE GROH)

  CEDRIC MALACHI JONES,
  a/k/a “BG,” et al.,

               Defendants.


        ORDER GRANTING MOTION FOR COMPLEX CASE DESIGNATION AND
                         RESCHEDULING CASE

        On March 24, 2014, the United States filed a “Notice of Intent to Request for

  Complex Case Designation” pursuant to Local Rule of Criminal Procedure 16.01(h).

  Subsequently, the United States moved the Court to designate this case as “complex”

  and to adopt the parties’ proposed schedule. [Doc. 118]. Most recently, the United

  States filed a “Supplement in Support of United States’ Motion for Complex Case

  Designation” [Doc. 128]. For the reasons discussed below, the Court GRANTS the

  motion, VACATES the scheduling deadlines in the order previously entered in this case,

  and DESIGNATES this case as complex pursuant to Local Rule of Criminal Procedure

  16.01(h).

        Under the Speedy Trial Act, 18 U.S.C. § 3161 et seq., a defendant must

  generally be brought to trial within seventy days of his initial appearance or the making

  public of the indictment, whichever occurs last. However, certain time periods are

  excluded from this calculation, including the pendency of any pretrial motion (from its
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  filing through the hearing or ruling on the motion), 18 U.S.C. § 3161(h)(1)(D), and any

  delay resulting from a continuance granted in furtherance of the “ends of justice.” 18

  U.S.C. § 3161(h)(7)(A); see Bloate v. United States, 559 U.S. 196, 214 (2010) (quoting

  Zedner v. United States, 547 U.S. 489, 498-99 (2006) (stating “[s]ubsection (h)(7)

  provides ‘[m]uch of the Act’s flexibility’ and gives district courts ‘discretion–within limits

  and subject to specific procedures–to accommodate limited delays for case-specific

  needs’”).

         In this case, on March 18, 2014, a Grand Jury in Martinsburg, West Virginia,

  returned a seventy-three count Indictment against the thirteen defendants. On March

  24, 2014, the United States filed a “Notice of Intent to Request for Complex Case

  Designation” pursuant to Local Rule of Criminal Procedure 16.01(h). The United States

  represents that all the defendants who have appeared in this district, including Ellis and

  Howard who made their initial appearances on March 31, 2014, and the United States

  request the Court to approve the matter for complex case designation.

         After reviewing the indictment and the parties’ arguments, the Court finds this

  case warrants a “complex” designation. First, the case is complex because of the

  number of defendants as there are thirteen defendants in this case. Second, the case

  is complex due to the amount of discovery in this case, currently consisting of nearly

  six-thousand pages of documents and over fifty CDs/DVDs containing numerous

  recordings. Also, the United States represents that additional discovery will be

  prepared in the coming months. Third, the United States represents that the

  investigation is continuing and it anticipates the possibility of seeking superseding

  indictments. Those issues render this case so complex that it is unreasonable to expect

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  the parties to complete adequate preparation for pretrial proceedings or trial within the

  time limits established in 18 U.S.C. § 3161. See 18 U.S.C. § 3161(h)(7)(B)(ii) (“Whether

  the case is so unusual or so complex, due to . . . the nature of the prosecution, . . . that

  it is unreasonable to expect adequate preparation for pretrial proceedings or for the trial

  itself within the time limits established by this section.”). Therefore, pursuant to 18

  U.S.C. § 3161(h)(7)(A), “the ends of justice [are] served by the granting of such

  continuance [and] outweigh the best interests of the public and the defendant in a

  speedy trial.”

         Accordingly, the Court VACATES the scheduling deadlines in the order

  previously entered in this case and RESCHEDULES the case as follows:

         (1) The United States Attorney shall provide the defendant’s counsel with copies

  of pretrial discovery and inspection on or before June 17, 2014.

         (2) In accordance with Local Criminal Rule 16.01, the defendant shall provide

  reciprocal discovery in accord with Federal Rule of Criminal Procedure 16(b)(1) within

  fourteen (14) days of receipt of the United States’ discovery, but not later than July 1,

  2014. Any declination of disclosure, additional discovery or inspection, and additional

  evidence shall be in accordance with Local Rule of Criminal Procedure 16.02, 16.03,

  and 16.04.

         (3) Exculpatory evidence shall be disclosed on or before July 1, 2014, in

  accordance with Local Rule of Criminal Procedure 16.05.

         (4) All motions, including any motion for a bill of particulars, pursuant to Federal

  Rule of Criminal Procedure 7(f) shall be filed on or before July 11, 2014. All such



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  motions shall contain or be accompanied by a memorandum or brief presented at the

  time of filing setting forth the reasons and legal support for granting such motion. If this

  memorandum or brief is not presented at the time of filing, the motion will be dismissed.

  If a party desires to file a motion for a continuance of a trial or any other scheduled

  event, counsel for that party shall, prior to the filing of any motion, meet and confer with

  opposing counsel and agree upon three (3) new dates should the motion be granted,

  and that information shall be included in the motion. If counsel for the opposing party

  objects to a continuance, that fact shall be noted in the motion.

          (5) Responses to all such motions with legal support or memorandum shall be

  filed on or before July 25, 2014.

          (6) A hearing on all motions, if referred to the Magistrate Judge by the Court,

  shall be held by the Magistrate Judge on Tuesday, August 5, 2014 at 11:00 a.m. at

  Martinsburg, West Virginia. The defendant shall be present at the hearing on all pretrial

  motions. The United States Marshals Service requires that subpoenas for witnesses be

  issued ten days prior to the date of the hearing in order for them to be able to serve

  them.

          (7) Rule 404(b), Giglio, and Rovario evidence shall be disclosed on or before

  August 5, 2014. See L.R. Crim. P. 16.06.

          (8) It is requested that the United States disclose materials described in 18

  U.S.C. § 3500 (Jencks Act material) on or before August 5, 2014.

          (9) All proposed voir dire questions and proposed jury instructions shall be

  submitted by counsel to the Court and opposing counsel on or before 5:00 p.m.,



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  August 7, 2014. If the instructions in this case are being typed on a computer, counsel

  are requested to provide to the court a disk labeled as to the case name and party

  proposing the instructions. The envelope containing the disk should be marked

  “Contains Disk – Do Not X-Ray – May be Opened for Inspection.” The disk will be

  returned to counsel if requested.

         (10) All motions in limine (which must be limited to matters actually in dispute)

  shall be filed by counsel, with service on opposing counsel, at least one (1) week prior

  to the final pretrial conference and responses filed at least one (1) working day before

  the final pretrial conference. See L.R. Crim. P. 24.01.

         (11) By 5:00 p.m., August 5, 2014, counsel for each party shall submit to the

  Court a list of probable witnesses and possible witnesses (identified as such), but not

  whether or not the defendant shall be a witness. The list shall state the full name and

  address of each witness and shall also contain a brief statement of the subject matter to

  be covered by each witness. Expert witnesses and record custodians shall be

  identified as such on the list. See L.R. Crim. P. 16.07.

         (12) By 5:00 p.m., August 5, 2014, counsel for each party shall file with the

  Court and with opposing counsel a list of exhibits to be offered at trial. In addition,

  counsel for each party shall number the listed exhibits with evidence tags which may be

  obtained from the clerk and shall exchange a complete set of marked exhibits with

  opposing counsel (except for large or voluminous items or other exhibits that cannot be

  reproduced easily). See L.R. Crim. P. 16.08.

         (13) If this matter results in the formulation of a plea agreement, counsel shall



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  submit to the Court the executed plea agreement or an unexecuted final proposed

  agreement by 5:00 p.m., August 5, 2014.

           (14) If a party believes that there may be a disputed issue on the admissibility of

  certain evidence at trial, that party’s counsel shall file a memorandum of law on that

  issue, with a copy served upon opposing counsel, at least forty-eight (48) hours prior to

  trial.

           (15) The deadlines stated in Local Rules of Criminal Procedure 24.01, 16.07, and

  16.08 are deadlines for hand-delivery or delivery by fax, if permission is granted

  pursuant to Local Rules of General Procedure 5.03 and 5.04. If the items required to be

  served on opposing counsel are served by the mail, the deadline shall be two (2) days

  earlier.

           (16) A final pretrial conference in this case will be held before the Honorable Gina

  M. Groh on August 14, 2014 at 9:30 a.m. in the Martinsburg District Judge Courtroom.

           (17) Jury selection in this matter will be conducted before the Court on August

  19, 2014 at 9:00 a.m. in the Martinsburg District Judge Courtroom.

           (18) Trial will commence upon completion of jury selection in all cases scheduled

  for trial.

           (19) Defendants shall appear at every scheduled matter including, but not limited

  to, motions hearing, pretrial conference, trial and every other proceeding.

           It is so ORDERED.



           The Clerk is directed to transmit copies of this Order to all counsel of record.



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        DATED: April 1, 2014




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